  Case 3:19-cv-02210-BAS-MSB Document 64 Filed 01/11/22 PageID.912 Page 1 of 1


                                 United States District Court
                                   SOUTHERN DISTRICT OF CALIFORNIA

                            NOTICE OF DOCUMENT DISCREPANCY

TO: ☒ U.S. DISTRICT JUDGE / ☐ U.S. MAGISTRATE JUDGE: The Hon. Cynthia Bashant
 FROM: D. Frank                                        RECEIVED DATE: January 5, 2022
 CASE NO. 19-cv-02210-BAS-MSB                          DOC FILED BY: Peter Strojnik, (Sr.)
 CASE TITLE: Strojnik v. Village 1017 Coronado, Inc.
 DOCUMENT ENTITLED: Motion To Strike All Post Dismissal Orders And Judgments For Lack Of
 Subject Matter Jurisdiction (In Addition To Contempt Rulings Vacated By Order Dated December 21,
 2021. ECF No. [62]); And (2) Request To Strike Superflusous, Disparaging And Defamatory
 Statements From Order ECF [62] Or To Provide Some Basis From The Record

        Upon the submission of the attached document(s), the following discrepancies are noted:


 FRCvp41 – Case closed



                                                            Date Forwarded: January 7, 2022

                   ORDER OF THE JUDGE / MAGISTRATE JUDGE

IT IS HEREBY ORDERED:
 ☒ The document is to be filed nunc pro tunc to date received.
      The document is NOT to be filed. But instead REJECTED, and it is ORDERED that the Clerk
 ☐
      serve a copy of this order on all parties.
Rejected documents to be returned to pro se or inmate? ☐ Yes.  Court copy retained by chambers ☐
          Any further failure to comply with the Local Rules may lead to penalties pursuant to
                           Civil Local Rule 83.1 or Criminal Local Rule 57.1.

Date: January 11, 2022                 CHAMBERS OF: The Honorable Cynthia Bashant

cc: All Parties                             By: s/ Law Clerk
